                     Case 4:21-cv-00192-WMR Document 1-1 Filed 10/15/21 Page 1 of 3


Anne Rogers

From:                                     Nathan Lock <nlock@mccamylaw.com>
Sent:                                     Monday, October 4, 2021 4:15 PM
To:                                       Jennie E. Rogers
Cc:                                       Anne Rogers
Subject:                                  RE: Juana Zavala v. Wal-Mart Stores East LP - did you send answers to interrogatories
                                          and document requests?


Ms. Zavala has had multiple back surgeries, and her medical bills alone are over $300,000. I had intended to respond to
your discovery after removal to Fed Court and initial disclosures, but if you prefer, I can put together a response before
removal. Just let me know.

NATHAN D. LOCK, ESQ.
McCamy, Phillips, Tuggle & Fordham, LLP
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From: Jennie E. Rogers [mailto:jrogers@mmatllaw.com]
Sent: Saturday, October 02, 2021 1:27 PM
To: Nathan Lock
Cc: Anne Rogers; Jennie E. Rogers
Subject: RE: Juana Zavala v. Wal-Mart Stores East LP - did you send answers to interrogatories and document requests?

Hi Nathan,

Yes. We can move your client’s deposition dated. We should probably look at December, if that is okay with you.

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Did you send me your interrogatory answers and responses to request for production of documents? I have no
information about her injuries, treatment or medical bills. Please send me the responses as soon as you can as I need to
update my client. I would like to get the subpoenas out as soon as I can.

Thanks, Jennie

Jennie E. Rogers
McLain & Merritt, P.C.
3445 Peachtree Road, NE, Suite 500
Atlanta, Georgia 30326
(678)619-9590 (Cell)
(404) 365-4576 (Office)
(404) 364-3138 (Fax)
Receptionist – (404) 266-9171

From: Nathan Lock <nlock@mccamylaw.com>
Sent: Saturday, October 2, 2021 9:36 AM
To: Jennie E. Rogers <jrogers@mmatllaw.com>
Cc: Anne Rogers <arogers@mmatllaw.com>
Subject: RE: Juana Zavala v. Wal-Mart Stores East LP - sending Answer, etc.

Jennie,

Attached is Ms. Zavala’s response to your request for admissions. I presume from the nature of the requests that you
will be removing the case to Federal Court. Depending on the timing of the removal, we may want to choose a different
date for Ms. Zavala’s deposition, but we can discuss that when we have our scheduling conference.

As always, I’m looking forward to working together again.

NATHAN D. LOCK, ESQ.
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From: Jennie E. Rogers [mailto:jrogers@mmatllaw.com]
Sent: Sunday, September 05, 2021 4:33 PM
To: Nathan Lock
Cc: Jennie E. Rogers
Subject: Juana Zavala v. Wal-Mart Stores East LP - sending Answer, etc.

Dear Nathan,

       Howard has asked me to handle this case. I emailing a copy of the Defendant’s Answer, Jury Demand, Notice of
Taking Deposition and Certificate Regarding Discovery, which I filed today. I am enclosing Defendant’s Request for
Admissions to Plaintiff, and Defendant’s Interrogatories and Request For Production of Documents to Plaintiff.

        The Notice of Taking Deposition is for the deposition of Juana Zavala to take place at your office at 11:00 a.m. on
November 23, 2021. If this date or time is inconvenient, please email my paralegal, Anne Rogers,
(arogers@mmatllaw.com) to reschedule to a mutually convenient date.

Sincerely, Jennie

Jennie E. Rogers
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